                Case 21-10050-rlj7           Doc 79          Filed 08/26/22 Entered 08/26/22 15:39:21                            DescPageMain
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                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                             ASSET CASES
Case No.:                    21-10050-RLJ                                                 Trustee Name:                             Roddrick B. Newhouse
Case Name:                   THE LAUREN CORPORATION                                       Date Filed (f) or Converted (c):          04/08/2021 (f)
For the Period Ending:       6/30/2022                                                    §341(a) Meeting Date:                     05/14/2021
                                                                                          Claims Bar Date:                          08/18/2021

                         1                         2                     3                         4                         5                       6

                 Asset Description               Petition/       Estimated Net Value            Property               Sales/Funds            Asset Fully
                  (Scheduled and               Unscheduled      (Value Determined by            Abandoned             Received by the      Administered (FA) /
             Unscheduled (u) Property)            Value                Trustee,           OA =§ 554(a) abandon.           Estate             Gross Value of
                                                               Less Liens, Exemptions,                                                      Remaining Assets
                                                                  and Other Costs)

 Ref. #
1       LAUREN EGINEERS &                         Unknown                     $1,000.00                                           $0.00                  $1,000.00
        CONSTRUCTORS
        MAURITIUS LTD. 100 %
2       CWCO, INC. 100 %                          Unknown                     $1,000.00                                           $0.00                  $1,000.00
3       LAUREN ENGINEERS &                        Unknown                     $1,000.00                                           $0.00                  $1,000.00
        CONSTRUCTORS, Unknown
        INC. 100 %
4       LAUREN SERVICES, INC.                     Unknown                     $1,000.00                                           $0.00                  $1,000.00
        100 %
5       TLC AIR, LLC 100 %                        Unknown                     $1,000.00                                           $0.00                  $1,000.00
6       INTERESTS IN INSURANCE                    Unknown                    $34,258.10                                      $34,258.10                     $0.00
        POLICIES OR
        ANNUITIES SEE
        ATTACHED SCHEDULE
        OF INSURANCE POLICIES.
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                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                 ASSET CASES
Case No.:                    21-10050-RLJ                                                              Trustee Name:                                Roddrick B. Newhouse
Case Name:                   THE LAUREN CORPORATION                                                    Date Filed (f) or Converted (c):             04/08/2021 (f)
For the Period Ending:       6/30/2022                                                                 §341(a) Meeting Date:                        05/14/2021
                                                                                                       Claims Bar Date:                             08/18/2021

                         1                                 2                       3                             4                          5                        6

                 Asset Description                       Petition/        Estimated Net Value               Property                  Sales/Funds               Asset Fully
                  (Scheduled and                       Unscheduled       (Value Determined by               Abandoned                Received by the         Administered (FA) /
             Unscheduled (u) Property)                    Value                 Trustee,              OA =§ 554(a) abandon.              Estate                Gross Value of
                                                                        Less Liens, Exemptions,                                                               Remaining Assets
                                                                           and Other Costs)

7       CAUSES OF ACTION                                  Unknown                        $1,000.00                                                $0.00                  $1,000.00
        AGAINST THIRD
        PARTIES (WHETHER OR
        NOT A LAWSUIT
        HAS BEEN FILED) CLAIMS
        AND CAUSES
        OF ACTION AGAINST
        ORIGIN BANK FOR
        ACTS AND OMISSIONS
        INCLUDING,
        WITHOUT LIMITATION,
        IMPROPER
        LOAN ADMINISTRATION,
        BREACH OF
        CONTRACT, TORTIOUS
        INTERFERENCE
        WITH EXISTING
        CONTRACTS, TORTIOUS
        INTERFERENCE WITH
        PROSPETIVE
        BUSINESS CONTRACTS,
        RIGHTS OF
        OFFSET AND/OR SETOFF,
        BAD FAITH
        CONDUCT, FRAUDULENT
        MISREPRESENTATION,
        NEGLIGENT
        MISREPRESENTATION,
        AND BREACH OF
        DUTIES OF GOOD FAITH
        AND FAIR
        DEALING. NATURE OF
        CLAIM BUSINESS
        TORT CLAIMS AMOUNT
        REQUESTED
8       MISCELLANEOUS CHECKS                    (u)            $0.00                        $80.77                                               $80.77                     $0.00
        NOT SCHEDULED


TOTALS (Excluding unknown value)                                                                                                               Gross Value of Remaining Assets
                                                               $0.00                   $40,338.87                                           $34,338.87              $6,000.00




    Major Activities affecting case closing:
     08/10/2022      Trustee is involved in ongoing discovery and litigation
     04/01/2022      Trustee is investigating potential chapter 5 causes of action to be pursued and preparing to terminate the Debtor’s retirement plans.
     08/02/2021      Trustee is in the process of reviewing value/status of scheduled assets.
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                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                             ASSET CASES
Case No.:                    21-10050-RLJ                                                  Trustee Name:                             Roddrick B. Newhouse
Case Name:                   THE LAUREN CORPORATION                                        Date Filed (f) or Converted (c):          04/08/2021 (f)
For the Period Ending:       6/30/2022                                                     §341(a) Meeting Date:                     05/14/2021
                                                                                           Claims Bar Date:                          08/18/2021

                         1                           2                     3                        4                         5                       6

                 Asset Description                 Petition/       Estimated Net Value           Property               Sales/Funds            Asset Fully
                  (Scheduled and                 Unscheduled      (Value Determined by           Abandoned             Received by the      Administered (FA) /
             Unscheduled (u) Property)              Value                Trustee,          OA =§ 554(a) abandon.           Estate             Gross Value of
                                                                 Less Liens, Exemptions,                                                     Remaining Assets
                                                                    and Other Costs)

Initial Projected Date Of Final Report (TFR):       06/30/2022                                               /s/ RODDRICK B. NEWHOUSE
Current Projected Date Of Final Report (TFR):       06/30/2023                                               RODDRICK B. NEWHOUSE
